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                                         GIGANEWS, INC. and LIVEWIRE SERVICES, INC.
                                      16
                                      17                         UNITED STATES DISTRICT COURT
                                      18                        CENTRAL DISTRICT OF CALIFORNIA
                                      19                        WESTERN DIVISION – LOS ANGELES
                                      20 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
                                         LIVEWIRE SERVICES, INC., a Nevada
                                      21 corporation,                         Before Honorable André Birotte, Jr.
                                      22                   Plaintiffs,                 PLAINTIFFS GIGANEWS, INC.
                                                 v.                                    AND LIVEWIRE SERVICES,
                                      23                                               INC.’S CERTIFICATE OF
                                         PERFECT 10, INC., a California                SERVICE RE: DEPOSITION
                                      24 corporation; NORMAN ZADA, an                  TRANSCRIPTS
                                         individual; and DOES 1-50, inclusive,
                                      25                                               Pretrial Conf.:   March 1, 2019
                                                         Defendants.                   Time:             11:00 a.m.
                                      26                                               Courtroom:        7B
                                                                                       Trial Date:       March 26, 2019
                                      27                                               Judge:            Hon. André Birotte, Jr.
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                                           CERTIFICATE OF SERVICE – DEPO TRANSCRIPTS            CASE NO. 2:17-cv-05075-AB (JPR)
                                      Case 2:17-cv-05075-AB-JPR Document 164-2 Filed 02/08/19 Page 2 of 3 Page ID
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                                       1                             CERTIFICATE OF SERVICE
                                       2         The undersigned declares as follows:
                                       3         I am a citizen of the United States and employed in the City and County of
                                       4 San Francisco, State of California. I am over the age of eighteen years and not a
                                       5 party to the within-entitled action. My business address is Fenwick & West LLP,
                                                                  th
                                       6 555 California Street, 12 Floor, San Francisco, CA 94104. On the date set forth
                                       7 below, I caused to be served a copy of the following documents:
                                       8                1.     NOTICE OF MANUAL LODGING OF DEPOSITION
                                                               TRANSCRIPTS FOR USE AT TRIAL
                                       9
                                                        2.     INDEX CITATIONS TO DEPOSITION DESIGNATIONS,
                                      10                       OBJECTIONS, AND COUNTERDESIGNATIONS FOR
                                                               USE AT TRIAL
                                      11
                                                        3.     DEPOSITION TRANSCRIPTS AS FOLLOWS:
                                      12
                                           Chumura, Sean (4/17/2014)
F ENWICK & W ES T LLP




                                                                                       Hersh, Bruce Debtor Examination
                        LAW




                                      13                                               (5/17/2016)
                                           Poblete, Melanie (4/23/2014)
                         AT
                        ATTO RNEY S




                                      14                                               Poblete, Melanie Debtor Examination
                                           Zada, Norm (4/24/2014)                      (12/6/2016)
                                      15
                                           Apai, Szabolcs (4/25/2014)                  Zada, Norm (7/11/2018)
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                                           Zada, Norm (4/25/2014)                      Poblete, Melanie (7/17/2018)
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                                           Chaney, Rebekah (6/5/2014)                  Hersh, Bruce (7/18/2018)
                                      18
                                           Augustine, Gwendalyn (6/24/2014)            Zada, Norm (10/31/2018)
                                      19
                                           Chou, Sheena (6/25/2014)                    Yokubaitis, Jonah (4/30/2014)
                                      20
                                           Saz, Mike (6/27/2014)                       Yokubaitis, Ron (1/23/2014)
                                      21
                                           Zada, Norm 30(b)(6) (6/30/2014)             Menking, Shane (3/22/2014)
                                      22
                                           Zada, Norm (8/24/2014)                      Rosenblatt, William (8/22/2014)
                                      23
                                           McCall, Jennifer (10/22/2014)               Molter, Philip (3/20/2014)
                                      24
                                         Zada, Norm Debtor Examination                 Molter, Philip (3/21/2014)
                                      25 (1/28/2016)
                                      26
                                           on the interested parties in the subject action as follows:
                                      27
                                      28

                                           CERTIFICATE OF SERVICE – DEPO TRANSCRIPTS    2         CASE NO. 2:17-cv-05075-AB (JPR)
                                      Case 2:17-cv-05075-AB-JPR Document 164-2 Filed 02/08/19 Page 3 of 3 Page ID
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                                       5
                                       6         BY E-MAIL: by causing to be transmitted via e-mail the document(s)
                                                  listed above to the addressee(s) at the e-mail address(es) listed above.
                                       7
                                       8         I declare under penalty of perjury under the laws of the State of California
                                       9 and the United States that the above is true and correct.
                                      10
                                      11 Date: February 8, 2018                  /s/ Jenni Linteo
                                                                                    Jenni Linteo
                                      12
F ENWICK & W ES T LLP
                        LAW




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                                           CERTIFICATE OF SERVICE – DEPO TRANSCRIPTS   3        CASE NO. 2:17-cv-05075-AB (JPR)
